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                        EXHIBIT B

                    Esposito Declaration
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)



              DECLARATION OF ROB ESPOSITO IN SUPPORT OF
    DEBTORS’ NINETY-SECOND (NON-SUBSTANTIVE) OMNIBUS OBJECTION TO
            CERTAIN SUPERSEDED CLAIMS (CUSTOMER CLAIMS)

         I, Rob Esposito, hereby declare under penalty of perjury:

                 1.       I am a Senior Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services and

financial and operation restructuring.

                 2.       I have more than 15 years of restructuring experience across various

industries, including broadcasting, oil & gas, manufacturing, pharma, transportation, automotive,

retail, telecommunications, and healthcare.

                 3.       Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Alpha Natural Resources, Sandridge Energy, Westmoreland Coal,

Endo International, Cumulus Media, Coach America, Cooper-Standard Automotive, Ascena

Retail and Exide Technologies.



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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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                 4.       I submit this declaration (the “Declaration”) in support of the Debtors’

Ninety-Second (Non-Substantive) Omnibus Objection to Certain Superseded Claims (Customer

Claims) (the “Objection”). 2 I am not being compensated separately for this testimony other than

through payments received by A&M as financial advisor retained by FTX Trading Ltd. and its

affiliated debtors and debtors-in-possession (collectively, the “Debtors”).

                 5.       Except as otherwise indicated herein, all of the facts set forth in this

Declaration are based upon my personal knowledge, my review of relevant documents,

information provided to me by the Debtors’ management, the Debtors and other Debtor

professionals, including the A&M team, involved in advising the Debtors in the above-captioned

case (the “Chapter 11 Case”). If called upon to testify, I could and would testify to the facts set

forth herein on that basis. I am authorized to submit this Declaration on behalf of the Debtors.

                 6.       The Superseded Claims subject to the Objection were reviewed and

analyzed in good faith using due diligence by appropriate personnel of the Debtors, A&M, and

the Claims Agent. Indeed, the Debtors and their advisors have spent months reviewing and

analyzing proofs of claim and any supporting documentation filed against the Debtors. These

efforts resulted in, among other things, identifying the Superseded Claims set forth in Schedule 1

to Exhibit A of the Objection.

                   7.     Based on the Debtors’ and their advisors’ ongoing analysis and review, the

Debtors and their advisors have determined that the Superseded Claims have been amended and

superseded by their corresponding Surviving Claims, each a subsequently filed claim. Both

claims relate to the same customer and arise from the same customer account. Many of the

Surviving Claims assert claims on account of the same fiat or cryptocurrency, and, in fact, many



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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.


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of the Surviving Claims assert claims on account of additional fiat or cryptocurrency not

included in the Superseded Claims. In addition, certain surviving claims appear to have been

filed to correct certain overstated fiat or cryptocurrency quantities. Moreover, in some instances

the Surviving Claim appears to change or correct the Debtor asserted on the Superseded Claims.

Based on this review, each of the Superseded Claims listed on Schedule 1 includes details

indicating that it is based on the same underlying claim as another later-filed claim. It is my

belief that each of the Superseding Claims and its corresponding Surviving Claims are based on

the same alleged liability and, therefore, the Surviving Claims have essentially amended their

corresponding Superseding Claims. Therefore, I believe that the Superseded Claims should be

disallowed and expunged in their entirety, and only the Surviving Claims should survive.

               8.      If the Superseded Claims are not disallowed, the corresponding claimants

may receive double recovery from the Debtors’ estates on account of both the

Superseded Claims and the Surviving Claims.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.



Dated: September 25, 2024                         /s/ Rob Esposito
                                                  Rob Esposito
                                                  Alvarez & Marsal North America, LLC
                                                  Senior Director




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